              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT




                       TREVOR STEVEN SUMMERS,

                                 Appellant,

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2022-3387



                              August 23, 2024

Appeal from the Circuit Court for Hillsborough County; Mark D. Kiser,
Judge.

Andrea Flynn Mogensen, Special Assistant Public Defender, Bartow, for
Appellant.

Ashley Moody, Attorney General, Tallahassee and J. Wade Stidham,
Assistant Attorney General, Tampa, for Appellee.


PER CURIAM.

      Affirmed.

KELLY, ROTHSTEIN-YOUAKIM, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
